(Rev. 10/19) Judgment in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                             for the
                                                        District of Alaska

                     STATE OF ALASKA                            )
                              Plaintiff                         )
                                 v.                             )      Civil Action No. 3:20-cv-00195-SLG
                                                                )
        FEDERAL SUBSISTENCE BOARD, et al.
                             Defendant
                                                                )

                                            JUDGMENT IN A CIVIL ACTION

☐ JURY VERDICT. This action came before the court for a trial by jury. The issues have been tried and the
jury has rendered its verdict.

☒ DECISION BY COURT. This action came to trial or decision before the Court. The issues have been
tried or determined and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED:

          THAT the Court lacks jurisdiction over the issues associated with the Kake hunt. That portion of the
          State’s claims are moot, and the Federal Subsistence Board’s decision to close Unit 13A and 13B to
          non-subsistence users was not arbitrary or capricious.




APPROVED:

s/Sharon L. Gleason
Sharon L. Gleason
United States District Judge
                                                                                     Brian D. Karth
Date: December 3, 2021                                                               Brian D. Karth
                                                                                      Clerk of Court
Note: Award of prejudgment interest, costs and attorney's
fees are governed by D.Ak. LR 54.1, 54.2, and 58.1.




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